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8                                UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10      ENTROPIC COMMUNICATIONS,                    No. 2:22-cv-07775-JWH-JEM
        LLC,
11                                                  ORDER RESETTING STATUS
                    Plaintiff,                      REPORT AND SCHEDULING
12                                                  CONFERENCE
              v.
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        DIRECTV, LLC and
14      AT&T SERVICES, INC.,
15                  Defendants.
16      ENTROPIC COMMUNICATIONS,                    No. 2:22-cv-07959-JWH-JEM
        LLC,
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                    Plaintiff,
18
              v.
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        DISH NETWORK CORPORATION,
20      DISH NETWORK L.L.C., and DISH
        NETWORK SERVICE L.L.C.,
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                    Defendants.
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                                                                      CASE NO. 2:22-CV-07775-JWH-JEM
                                             ORDER RESETTING STATUS REPORT AND SCHEDULING CONFERENCE
     Case 2:22-cv-07775-JWH-KES     Document 342     Filed 08/14/24     Page 2 of 2 Page ID
                                         #:5013


1           The Court, having considered the Parties’ Stipulation to Reschedule Status Report
2     and Scheduling Conference, and being advised of the issues therein, hereby ORDERS as
3     follows:
4           1.    The stipulation is APPROVED.
5           2.    The parties are DIRECTED to file a Joint Status Report containing a
6     proposed case schedule no later than August 30, 2024.
7           3.    The Scheduling Conference set for August 30, 2024, is CONTINUED to
8     September 13, 2024, at 11:00 a.m.
9           IT IS SO ORDERED.
10
11    Dated ____________,
              August 14 2024                       _____________________
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                                                   Hon.
                                                   Honn. John W. Holcomb
12                                                 UNITED STATES DISTRICT
                                                                     DISTR JUDGE
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                                                                      CASE NO. 2:22-CV-07775-JWH-JEM
                                             ORDER RESETTING STATUS REPORT AND SCHEDULING CONFERENCE
